                                          Case 4:20-cv-05640-YGR Document 15 Filed 08/14/20 Page 1 of 2




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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        EPIC GAMES, INC.,
                                   7                                                       Case No. 20-cv-05640-EMC
                                                       Plaintiff,
                                   8
                                                v.                                         ORDER SETTING INITIAL CASE
                                   9                                                       MANAGEMENT CONFERENCE
                                        APPLE INC.,                                        AND ADR DEADLINES
                                  10
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          IT IS HEREBY ORDERED that this action is assigned to the Honorable Edward M. Chen.

                                  14   When serving the complaint or notice of removal, the plaintiff or removing defendant must serve

                                  15   on all other parties a copy of this order and all other documents specified in Civil Local Rule 4-2.

                                  16   Counsel must comply with the case schedule listed below unless the Court otherwise orders.

                                  17          IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  18   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  19   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  20   Procedures in the Northern District of California” on the Court ADR Internet site at

                                  21   http://www.cand.uscourts.gov/adr. A limited number of printed copies are available from the

                                  22   Clerk’s Office for parties in cases not subject to the court’s Electronic Case Filing program (ECF).

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                                  28                      CASE SCHEDULE – ADR MULTI-OPTION PROGRAM
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                                   1    Date                       Event                                                           Governing Rule

                                   2    8/13/2020                  Complaint Filed

                                   3    10/22/2020                 *Last day to:                                                   FRCivP 26(f) &
                                                                   • meet and confer re: initial disclosures, early                ADR L.R.3-5
                                   4                               settlement, ADR process selection, and discovery
                                                                   plan
                                   5

                                   6                               • file ADR Certification signed by Parties and                  Civil L.R . 16-8(b) &
                                                                   Counsel (form available at                                      ADR L.R. 3-5(b)
                                   7                               http://www.cand.uscourts.gov)

                                   8    11/5/2020                  **Last day to file Rule 26(f) Report, complete                  FRCivP 26(a) (1)
                                                                   initial disclosures or state objection in Rule 26(f)            Civil L.R . 16-9
                                   9                               Report and file Case Management Statement per
                                  10                               Standing Order re Contents of Joint Case
                                                                   Management Statement
                                  11                               (also available at http://www.cand.uscourts.gov)
                                  12    11/12/2020
Northern District of California




                                                                   INITIAL CASE MANAGEMENT                                         Civil L.R . 16-10
 United States District Court




                                  13                               CONFERENCE (CMC) at 9:30 AM in:
                                                                   Courtroom 5, 17th Floor
                                  14                               Phillip Burton Federal Building
                                  15                               450 Golden Gate Avenue
                                                                   San Francisco, CA 94102
                                  16

                                  17   * If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 21
                                       days in advance of the Initial Case Management Conference.
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                                       ** If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 7
                                  19   days in advance of the Initial Case Management Conference.

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